Case 2:03-cr-20485-SH|\/| Document 274 Filed 04/22/05 Page 1 of 3 Page|D 301

 
 
  

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FoR THE wEsTERN DISTRICT oF TENNESSEEQ§BPRZZ
wEsTERN DIVISION ` `

 

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UN:TED sTATEs oF AMERICA ‘“ D-”VTN\MEM£E§
vs. CR. No. 03-20485-Ma

KENNETH TAYLOR,

Defendant.

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

Before the court is the April 20, 2005, motion of the
DEFENDANT, Kenneth Taylor, for a continuance of the suppression
hearing set for April 21, 2005. The continuance is necessary to
allow for the completion of a mental evaluation, of defendant
Kenneth Taylor.

The Court grants the motion and continues the suppression
hearing until Friday, June 3, 2005 at 10:30 a.m.

The period from April 21, 2005, through June l7, 2005, is
excluded. under' lS U.S.C. § 3161(h)(8)(B)(iv) to allow' defense
counsel additional time to prepare.

ZI:L~

IT IS SO ORDERED this the day of April, 2005.

YAM\W

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

 

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Honorable Samuel Mays
US DISTRICT COURT

